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 4
     Attorney for: JASPREET DHADDA
 5

 6                       IN THE UNITED STATES DISTRICT COURT

 7                    FOR THE EASTERN DISTRICT OF CALIFORNIA

 8

 9   UNITED STATES OF AMERICA,                       )      No. CR-S-11-0077 W BS
                                                     )
10                       Plaintiff,                  )      STIPULATION AND ORDER
                                                     )      CONTINUING STATUS
11         vs.                                       )      HEARING
                                                     )
12   JASPREET DHADDA, et al.                         )
                                                     )
13                       Defendant.                  )
                                                     )
14

15         Defendants: JASPREET DHADDA, through his attorney, PETER KMETO;

16   CHRISTOPHER TABOR, through his attorney MATTHEW SCOBLE ; and, the

17   United States of America, through its counsel of record, JASON HITT, stipulate and

18   agree to the following:

19         1. The presently scheduled date of May 29, 2012 for Status Hearing shall be

20         vacated and said Hearing be rescheduled for June 25, at 9:30 a.m..

21         2. The parties have reached an accord as to the terms of a plea agreement,

22         however, counsel for the defense is not available on the currently scheduled date

23         due to his participation in a jury trial. Accordingly, the parties stipulate that time

24         be excluded pursuant to 18 U.S. C. §3161(h)(7)(A) [Local Code T4] –

25         continuity of defense counsel. The parties further stipulate that the interests

26         of justice outweigh the defendants’ and the public’s interest in a speedy trial.

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 1         IT IS SO STIPULATED.

 2   Dated:    May 22, 2012                          /s/ JASON HITT
 3                                                  Assistant U.S. Attorney
                                                    for the Government
 4

 5   Dated:    May 22, 2012                          /s/ PETER KMETO
                                                    Attorney for Defendant
 6
                                                    JASPREET DHADDA
 7
     Dated:    May 22, 2012                         /s/ MATTHEW SCOBLE
 8
                                                    Attorney for Defendant
 9                                                  CHRISTOPHER TABOR
10

11
                                            ORDER
12

13                UPON GOOD CAUSE SHOW N and the stipulation of all parties, it is

14   ordered that the hearing for STATUS HEARING be continued as set forth above.

15                The Court finds excludable time pursuant to 18 U.S.C. § 3161(h)(7)(A)
16   and Local Rule T-4 until June 25, 2012 for continuity of defense counsel. The Court
17   further finds that the interests of justice outweigh the defendants’ and the public’s
18   interest in a speedy trial.
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     DATED: May 24, 2012
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